Case 1:03-cv-00476-GJQ          ECF No. 304, PageID.3930            Filed 12/22/05      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


POLYVISION CORPORATION,

               Plaintiff,                             Lead Case No. 1:03-CV-476

v                                                     Hon. Gordon J. Quist

SMART TECHNOLOGIES INC., et al,

            Defendants.
____________________________________/

                                             ORDER

               As more fully set forth in the court’s order of December 14, 2005 (docket no. 298),

the court on October 26, 2005 began hearing arguments on Smart’s Third Comprehensive Motion

to Compel Polyvision to Comply with Discovery Obligations (docket no. 209) and Smart’s

companion Motion for an Order Requiring Steelcase Inc. to Show Cause for its Defiance of this

Court’s Third Party Subpoena Duces Tecum (docket no. 211). The hearing on those motions was

interrupted by a break for lunch, following which the parties indicated that they were making

significant progress in resolving the various discovery disputes set forth in these motions. To the

extent they could not resolve these disputes, they agreed to return to the court on November 1, 2002.

               On November 1, 2005, the parties met with the court in chambers and indicated they

were diligently working to resolve these matters.

               Since the parties had not sought a continuation of the October 26, 2005 hearing, the

court in its December 14, 2005 order stated that it would consider both of these motions resolved

except to the extent that the parties had filed new briefs during the preceding month, renewing some


                                                 1
Case 1:03-cv-00476-GJQ          ECF No. 304, PageID.3931           Filed 12/22/05      Page 2 of 3




aspect of these motions.

               Several matters were resolved at a hearing on December 15, 2005. The only issue

remaining is from the Third Comprehensive Motion to Compel. The remaining issue is that raised

in Smart’s Supplemental Brief in Support of its Motion to Compel Production of Documents that

Polyvision Improperly Withheld from 3M’s Production (docket no. 284). Smart contends that it

subpoenaed the documents in question from Third Party 3M, but that Polyvision intervened and

blocked production of these documents asserting the attorney-client privilege and/or work product

immunity. A brief history puts these documents in context.

               A Massachusetts corporation, Microtouch Systems, Inc., was a company engaged in,

among other businesses, the manufacture and sale of a line of whiteboard products and accessories

under the trade name “Ibid.” In May 2000, Greensteel, Inc., the wholly-owned subsidiary of

Polyvision, purchased the Ibid business from Microtouch Systems along with all the assets and

properties of that business, including all books, records, software programs, printouts, drawings,

data, files, notes, notebooks, accounts, invoices, correspondence, and memoranda relating to that

business. The assets included the ‘309 patent in the present case. Under the purchase agreement,

Microtouch was to ship everything that Polyvision had purchased from Microtouch’s Methuen,

Massachusetts facility to Polyvision’s facilities in Georgia and Oregon. Inadvertently, certain

documents not used in the day-to-day operation of the business were left behind in Methuen and not

delivered to Polyvision’s facility at the time of the move. Microtouch apparently continued to carry

on its other operations for a short time until the remainder of the corporation was purchased by 3M

Touch Systems, Inc., which took over the Microtouch facility in Methuen. When the documents

which were left behind were discovered in response to Smart’s subpoena to 3M, Polyvision


                                                 2
Case 1:03-cv-00476-GJQ            ECF No. 304, PageID.3932              Filed 12/22/05        Page 3 of 3




intervened and asserted its rights of attorney-client privilege and work product immunity, asserting

that it stood in the shoes of Microtouch from whom it had bought the business.

                The court heard argument on this issue at the December 15, 2005 omnibus hearing

and found that, for reasons more fully stated on the record, the purchase of the Ibid business from

Microtouch Systems was clearly the purchase of an ongoing business (rather than a mere assets

purchase) which entitled Polyvision to assert the attorney-client relationship formerly enjoyed by

Microtouch. See, Asset Purchase Agreement of May 31, 2000, and Affidavit of Michael H. Dunn,

CEO of Polyvision , December 2, 2005. Commodity Futures Trading Comm’n v Weintraub, 461

U.S. 343, 349 (1985); Tekni-Plex Inc. v Meyer and Landis, 89 NY 2d 123, 133 (NY 1996).

                The court further found for reasons stated at the December 15, 2005 hearing that

Polyvision had not waived its privileges merely because Microtouch had inadvertently failed to

deliver the documents to Polyvision, when Polyvision was not aware of their existence.

                It remains for the court to review the documents in camera, upon their submission

to the court, to determine if the assertions in the privilege log are well taken. Prior to that, the parties

shall meet and address each of the entries listed in the privilege log individually “in a good-faith

effort to resolve each specific discovery dispute”. W.D. Mich. LCiv R. 7.1(d). This should be

accomplished and the documents delivered to the court within fourteen (14) days of the date of this

order.

                IT IS SO ORDERED.


Dated: December 22, 2005                         /s/ Hugh W. Brenneman, Jr.
                                                 Hugh W. Brenneman, Jr.
                                                 United States Magistrate Judge



                                                     3
